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1                                           Hon. Robert S. Lasnik
2

3                            UNITED STATES DISTRICT COURT
4                      FOR THE WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
5

6
     UNITED STATES OF AMERICA, )
7
                                  )                No. 15-043-RSL
8                Plaintiff,       )
                                  )                Order to Continue Trial
9
                  v.              )                Date and Pretrial Motions Cutoff Date
10                                )
11
     CRISTOBAL ORTIZ,             )
     MIGUEL REYES BRAVO,          )
12                                )
13                Defendants.     )
     _____________________________)
14

15      The Court, having considered the motion of defendant Cristobal Ortiz to continue
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     the trial date and the motions cutoff date and the factual basis for the continuance as
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18
     well as the files and records herein, finds that the ends of justice served by granting the

19   continuance outweigh the best interests of the public and the defendants in a speedy
20
     trial. 18 USC § 3161 (h) (7) (A).
21

22      NOW, THEREFORE IT IS HEREBY ORDERED that the motion to continue the
23
     trial date and the pretrial cutoff date is granted. The trial date is continued until
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     January 19, 2016 and the pretrial motions cutoff date until November 13, 2015.
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26      IT IS FURTHER ORDERED that the period of time from the current trial date of
27
     November 16, 2015, up to and including the new proposed trial date of January 19,
28
     Order                                                    Law Office of Robert Gombiner
                                                              111 3rd Ave., Suite 2220
                                                              Seattle WA 98101
                                               1               (206) 436- 3492
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1    2016, is hereby excluded for speedy trial purposes. 18 USC § 3161 (h) (7) (A) and 18
2
     USC § 3161 (h) (7) (B).
3

4        DATED this 2nd day of November, 2015.
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7
                                                    Robert S. Lasnik
8                                                   United States District Judge
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     Order                                                 Law Office of Robert Gombiner
                                                           111 3rd Ave., Suite 2220
                                                           Seattle WA 98101
                                             2              (206) 436- 3492
